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  8                          UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
 10
      UNITED STATES OF AMERICA,                     Case No.: a2:p~j- CK-~~~J3~'.- Si~'~°
 11
                          Plaintiff,                ORDER OF DETENTION PENDING
 12                                                 FURTHER REVOCATION
                  v.                                PROCEEDINGS
 13                                                  FED. R. CRIM. P. 32.1(a)(6); 18
                                                      .S.C. § 3143(a)(1))
 14
                          Defendant.
 15
 16        The defendant having been arrested in this District pursuant to a warrant
 17 issued by the United States District Court for the ~~~`'~                District of
 18       ~~ T"'~~~~~for alleged violations) of the terms and conditions of probation
 19 or supervised release; and
20         Having conducted a detention hearing pursuant to Federal Rule of Criminal
21 Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a)(1), the Court finds that:
22 A. (~      The defendant has not met his/her burden of establishing by clear and
23            convincing evidence that he/she is not likely to flee if released under 18
24            U.S.C. § 3142(b) or (c). This finding is based on the following:
25           (K)       information in the Pretrial Services Report and Recommendation
              t`
26           (~        information in the violation petition and reports)
27           (~        the defendant's nonobjection to detention at this time
28           ()        other:


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   1          and/ or
  2 B. (~,)   The defendant has not met his/her burden of establishing by clear and
  3           convincing evidence that he/she is not likely to pose a danger to the
  4           safety of any other person or the community if released under 18 U.S.C.
  5           § 3142(b) or (c). This finding is based on the following:
  6           ~)    information in the Pretrial Services Report and Recommendation
  7           (t~   information in the violation petition and reports)
  8           (~    the defendant's nonobjection to detention at this time
  9           ( )   other:
 10
 1 1 IT THEREFORE IS ORDERED that the defendant be detained pending the further
 12 revocation proceedings.
 13
 14 Dated: ,Tv n ~- 2 g, ~ ~ ~-
 15                                               United States Magistrate Judge
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